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AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                     Northern District of Illinois                            on the following
      G
      ✔ Trademarks or         G Patents.    ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
      1:22-cv-01069                        03/01/2022                                     Northern District of Illinois
PLAINTIFF                                                                 DEFENDANT
Moomin Characters Oy, Ltd.                                                 The Partnerships and Unincorporated Associations
                                                                           Identified on Schedule "A"



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 See Attached

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer          G Cross Bill        G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
See Attached Order




CLERK                                                      (BY) DEPUTY CLERK                                            DATE
Thomas G. Bruton                                             E. Reyes                                                          4/18/2022

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                                                                     PageID#:650
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                     Document#:#:14-1
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                     Document#:#:14-1
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                                                                     PageID#:653
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                                                                     PageID#:654
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                     Document#:#:14-1
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                     Document#:#:14-1
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                                                                     PageID#:657
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                                                                     PageID#:660
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                     Document#:#:14-1
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                                                                     PageID#:661
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                                                                     PageID#:662
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                                                                     PageID#:663
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                                                                            #:495
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                                  32 Filed:
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                                                                     PageID#:669
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                                                                     PageID#:670
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                     Document#:#:14-1
                                  32 Filed:
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                                  32 Filed:
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                                  32 Filed:
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                     Document#:#:14-1
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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                 Eastern Division

  Moomin Characters Oy, Ltd.
                                                           Plaintiff,
  v.                                                                    Case No.:
                                                                        1:22−cv−01069
                                                                        Honorable Manish S.
                                                                        Shah
  The Partnerships and Unincorporated Associations
  Identified on Schedule "A", et al.
                                                           Defendant.



                          NOTIFICATION OF DOCKET ENTRY



  This docket entry was made by the Clerk on Friday, April 15, 2022:


          MINUTE entry before the Honorable Manish S. Shah: No defendants have
  appeared or objected to the motion for default judgment. The motion [24] is granted.
  Based on the evidence submitted in support of the temporary restraining order and the
  admission of liability by virtue of the default, plaintiff has established that a permanent
  injunction should be entered. The infringement of plaintiff's marks irreparably harms
  plaintiff and confuses the public. The infringement was willful and statutory damages are
  awarded. After considering the nature of the products, the price point, the absence of any
  concrete evidence of lost profits or high−volume infringement by defendants, the value of
  the plaintiff's brand, and the need to deter infringement that is easily committed and
  difficult to stop, the court concludes that $100,000 is an appropriate award of statutory
  damages. Enter Default Judgment Order. Terminate civil case. Notices mailed. (psm, )




  ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
  Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
  generated by CM/ECF, the automated docketing system used to maintain the civil and
  criminal dockets of this District. If a minute order or other document is enclosed, please
  referAtoTRUE    COPY-ATTEST
           it for additional information.
   THOMAS G. BRUTON,-       CLERK
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                  events, motion practices, recent opinions and other information, visit our
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U.S. DISTRICT COURT, NORTHERN
       DISTRICT OF  - ILLINOIS
             April 18, 2022
